United States Marshals Service | By Reapka at 10:52 am, Nov 17, 2021

U.S. Department of Justice | RECEIVED “| PROCESS RECEIPT AND RETURN

See "fistrictions for Sarviec of Process by US Marshal"

PLAINTIFF COURT CASE NUMBER
United States of America 1:21CV364

DEFENDANT . TYPE GF PROCESS

Real property located at 100 Mountain View Drive, et al. Execute Default Judgment

NAME OF INDIVIDUAL, COMPANY, CORPORATION, EFC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J 2019 Nautique G25 boat, HIN: CTC95115K819, with a 2019 Extreme boat trailer, VIN: 5DBBB2734KZ005090
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be

served with this Form 285 1

Henty F. DeBaggis, Assistant United States Attorney nhumber of parties to b
Office of the United States Attorney serve ‘hin this case one g 1
st PILED
801 W. Superior Avenue, 400 United States Courthouse Bae Bo
Cleveland, Ohio 44113 "
Check for service

| on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (uclude Business an CAE
Aff Telephone Numbers, and Estiinated Times Available for Service};
Fold Pold

Pursuant to the Default Judgment filed in the above-captioned case on November 16, 2021, the 2019 Nautique G25 beat, HIN:
CTC95115K819, With a 2019 extreme boat trailer, VIN: 3DBBB2734K 7.005000 is forfeited to the United States and should be
disposed in accordance with law. (21-FDA-000069)

Signature of Aitorney other Originator requesting service on behalf oft lv. PLAINTIFF "| TELEPHONE NUMBER DATE

[ DEFENDANT 216-622-3749 11/46/21

/s/ Henry F, DeBaggis
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

Lacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 ifmore GA, Caknr hb
than one USM 285 is subniitted) J No. 60 No. 6? 4 M f f J A i z J

i hereby certify and return that 1 __! have personaily served _— have legal evidence of service, L_ have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, ete. shown at the address inserted below.

“TI hereby certify and return that {am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if no? shown above) [aA person of suitable age and discretion
then residing in defendant's usual place
of abode

Address (complete only different than shown above) Date Time

am

Joh, JO * (XO pm

Signature soa Mara Marshal or Deputy
bret Beads, 9rL

Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavors) 6 ‘ (Amount of Refund*)

I, CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2, USMS RECORD
3, NOTICE OF SERVICE

4, BILLING STATEMENT™: To be retumed to the U.S, Marshal with payment, Form USM-285
if any amount fs owed, Please remit promptly payable to U.S, Marshal. Rev, [2/15/80

5, ACKNOWLEDGMENT OF RECEIPT Automated 01/00

